      Case 1:05-cv-00035-SPM-AK Document 11 Filed 05/10/05 Page 1 of 1




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

URSULA MONROE, et al.,

              Plaintiffs,

vs.                                             CASE NO.: 1:05cv35-SPM/AK

HILTON HOTELS CORP., et al.,

           Defendants.
______________________________/

                 ORDER DIRECTING PLAINTIFF TO RESPOND

        Pending before the Court is Defendants’ Motion to Dismiss Counts I and II

of the Amended Complaint (doc. 7). Plaintiff has not responded to the motion as

required under Northern District of Florida Local Rule 7.1(C). Under the rule,

“[f]ailure to file a responsive memorandum may be sufficient cause to grant the

motion.” N.D, Fla. 7.1(C). The Court will, however, give Plaintiff an additional

opportunity to respond. Accordingly, it is

        ORDERED AND ADJUDGED that Plaintiff shall have up to and including

May 20, 2005 to respond to the motion to dismiss in accordance with Northern

District of Florida Local Rule 7.1(C).

        DONE AND ORDERED this 10th day of May, 2005.


                                         s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
